                               UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TENNESSEE
                                     at CHATTANOOGA

 UNITED STATES OF AMERICA                       )       COLLIER/CARTER
                                                )
        v.                                      )       CASE NO. 1:10-CR-23
                                                )
 MARCUS SMITH                                   )




                              REPORT AND RECOMMENDATION

        Pursuant to 28 U.S.C. § 636(b), I conducted a plea hearing in this case on May 26, 2010.

 At the hearing, defendant entered a plea of guilty to Counts One and Five of the Indictment in

 exchange for the undertakings made by the government in the written plea agreement. On the

 basis of the record made at the hearing, I find that the defendant is fully capable and competent to

 enter an informed plea; that the plea is made knowingly and with full understanding of each of

 the rights waived by defendant; that it is made voluntarily and free from any force, threats, or

 promises, apart from the promises in the plea agreement; that the defendant understands the

 nature of the charge and penalties provided by law; and that the plea has a sufficient basis in fact.

        I therefore recommend that defendant's plea of guilty to Counts One and Five of the

 Indictment be accepted, that the Court adjudicate defendant guilty of the charges set forth in

 Counts One and Five of the Indictment, and that the written plea agreement be accepted at the

 time of sentencing. I further recommend that defendant remain in custody until sentencing in this

 matter. Acceptance of the plea, adjudication of guilt, acceptance of the plea agreement, and

 imposition of sentence are specifically reserved for the district judge.



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        The defendant’s sentencing date is scheduled for Thursday, October 14, 2010, at 9:00

 am.



        Dated: May 28, 2010                    s/William B. Mitchell Carter
                                               UNITED STATES MAGISTRATE JUDGE




                                       NOTICE TO PARTIES

        You have the right to de novo review of the foregoing findings by the district judge. Any
 application for review must be in writing, must specify the portions of the findings or
 proceedings objected to, and must be filed and served no later than fourteen days after the plea
 hearing. Failure to file objections within fourteen days constitutes a waiver of any further right to
 challenge the plea of guilty in this matter. See 28 U.S.C. §636(b).




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